Case 1:22-cv-10904-JSR Document 283-8 Filed 08/14/23 Page 1 of 12




                EXHIBIT 311
     Case 1:22-cv-10904-JSR Document 283-8 Filed 08/14/23 Page 2 of 12




1               IN THE UNITED STATES DISTRICT COURT

2               FOR THE SOUTHERN DISTRICT OF NEW YORK

3      GOVERNMENT OF THE UNITED STATES
       VIRGIN ISLANDS,
4
                         Plaintiff,
5
                vs.                                No. 22-cv-10904-JSR
6
       JPMORGAN CHASE BANK, N.A.,
7
                      Defendant.
8      _______________________________

9      JPMORGAN CHASE BANK, N.A.,

10                    Third-Party Plaintiff,

11     v.

12     JAMES EDWARD STALEY,
       Third-Party Defendant.
13     __________________________________

14

15                THE ORAL DEPOSITION OF CECILE DE JONGH was

16     taken on the 29th day of May, 2021 at the Ritz-Carlton

17     Hotel, 6900 Great Bay, Nazareth, St. Thomas, U.S. Virgin

18     Islands, between the hours of 9:02 a.m. and 2:22 p.m.

19     pursuant to Notice and Federal Rules of Civil Procedure.

20                        ____________________
                              Reported by:
21

22                           DESIREE D. HILL
                        Registered Merit Reporter
23                      Hill's Reporting Services
                             P.O. Box 307501
24                     St. Thomas, Virgin Islands
                              (340) 714-0269
25
     Case 1:22-cv-10904-JSR Document 283-8 Filed 08/14/23 Page 3 of 12

                     CECILE DE JONGH -- DIRECT                           42


1            A.     No.

2            Q.     Do you remember a person named              ?

3            A.     The name I do recognize, yeah.

4            Q.     What do you remember about this person,

5              ?

6            A.     The thing I remember correctly is there

7      was a           who was, when I was out getting my knee

8      replacement in 2017, I was gone for a while, and I

9      came back, and I think Jeanne told me that there was

10     a           who was going to be working with us.        And I

11     said, who?    And then -- who -- who worked with us.

12     And by the time I came back, she was off and on the

13     payroll.

14           Q.     You mean she had gone on the payroll and

15     then off the payroll?

16           A.     Yeah.

17           Q.     And you were in New York for, like, two

18     weeks?

19           A.     No.   I was gone for about a month.

20           Q.     About a month.

21           A.     Yeah.

22           Q.     And am I correct that you stayed in an

23     apartment provided by Mr. Epstein in New York?

24           A.     Correct.

25           Q.     Did you know anything about the other
     Case 1:22-cv-10904-JSR Document 283-8 Filed 08/14/23 Page 4 of 12

                     CECILE DE JONGH -- DIRECT                           43


1      tenants in the building of the apartment you were

2      staying in?

3            A.     No.   I mean, I confined myself to -- I

4      mean, I had the surgery.       I had two surgeries.      One

5      in July and one in September.        So one before

6      Hurricane Irma and one after.        And the reason why I

7      had the surgery up there was because they couldn't do

8      the surgery here because of some Medicare issues.

9                      So I asked Mr. Epstein if I could stay

10     there because I had to stay there for my initial

11     rehab and my post-op.      And he said to deal with

12     Lesley Groff, and which I did.

13                     And I could have stayed with my

14     daughter, but she was in a fifth floor walk-up.           When

15     I talked to my doctor, he said that was not going to

16     work.    I needed some place with an elevator.        And

17     also the apartment was, like, six blocks from the

18     hospital for surgery.      So I flew up.     First time

19     stayed with my daughter, did my pre-op.          Then went to

20     the apartment, had my surgery and stayed there.

21                     I had had some heart complications.         So

22     I was there a little bit longer than normal.

23                  MR. NEIMAN:     Okay.   Ask the reporter to

24           mark Exhibit 6, another photograph.

25
     Case 1:22-cv-10904-JSR Document 283-8 Filed 08/14/23 Page 5 of 12

                     CECILE DE JONGH -- DIRECT                           86


1      would know.     And you followed up with Kenn Hobson?

2            A.     Correct.

3            Q.     And Kenn Hobson was running the Port

4      Authority at the time?

5            A.     Correct.

6            Q.     And the Port Authority would have

7      interactions with Customs?

8            A.     I would assume, yeah, they would.

9            Q.     Right.    And in fact, Mr. -- when you --

10     withdrawn.

11                  When you spoke to Mr. Hobson, he told

12     you who was running customs in the Virgin Islands,

13     this Mr. Harrigan, right?

14           A.     Yes.

15           Q.     And then you forwarded that information on

16     to Mr. Epstein.     Do you see that?

17           A.     Yes.

18           Q.     And do you know anything about what the

19     nature of Mr. Epstein's relationship was with

20     Mr. Harrigan?

21           A.     I do not.

22           Q.     Do you know whether Mr. Epstein gave gifts

23     to the folks at Customs?

24           A.     I am not aware.     I was not involved.      I

25     know that -- I think he asked me once about my
     Case 1:22-cv-10904-JSR Document 283-8 Filed 08/14/23 Page 6 of 12

                     CECILE DE JONGH -- DIRECT                           87


1      thoughts of giving turkeys or something, but other

2      than that.

3            Q.     Okay.   You remember Mr. Epstein asked you

4      if you thought it was okay for him to give a turkey to

5      all the people who work at Customs at the airport --

6            A.     I vaguely remember that.

7            Q.     -- people who would see who was on his

8      airplane?

9            A.     Yeah.   I vaguely remember that, yes.

10           Q.     And you said that was okay?

11           A.     Yeah.   I mean --

12           Q.     Did you check with anyone first before you

13     gave that advice?

14           A.     Well, down here, people usually give gifts

15     to people at Department of Finance, they give,           you

16     know, they give gifts to people who they normally

17     interact with on a regular basis.

18                     You know, it's similar to, you know,

19     when, you know, my brother-in-law lives in a building

20     where everybody gives a gift to the doorman, you

21     know.    So that's where I was thinking, I had no

22     reason to think anything untoward was happening.

23           Q.     Sure.   But you would recognize that Customs

24     officials are not like the doorman in your building.

25     They are law enforcement officers, right?
     Case 1:22-cv-10904-JSR Document 283-8 Filed 08/14/23 Page 7 of 12

                     CECILE DE JONGH -- DIRECT                         111


1      kind of normal in your experience to --

2            A.     Yeah.

3            Q.     Let me just finish the question.        I'm

4      sorry.

5            A.     I'm sorry.

6            Q.     I know I paused there, so that was -- that

7      was my fault, not yours, but let me just finish the

8      question.

9                   Just in your experience in the way the

10     government works in the Virgin Islands, would it be

11     normal, the need to hire a consultant or a lobbyist

12     to get a dental license approved?

13                  MS. BOGGS:    Objection to form.

14                  THE WITNESS:     Here, yes.

15           Q.     (By Mr. Neiman:)     Okay.    And why is that?

16           A.     Because it takes a long time to get

17     licensing through.      I went to my doctor a month ago

18     and said to her, my son has been trying to get in to

19     see you and you're not taking any more patients.           No

20     one is taking more patients.

21                     And she said, you know why?       Because I

22     can't get any of my nurses or P.A.'s through the

23     board.     And she said to me, "Do you have any contact?

24     Can I get you to go?"

25                     And I said, "I don't know."       And I
     Case 1:22-cv-10904-JSR Document 283-8 Filed 08/14/23 Page 8 of 12

                     CECILE DE JONGH -- DIRECT                       112


1      literally went online while I was sitting there to

2      see if I knew anybody on the board, not for pay, but

3      just to help her out.

4                      So I guess that would classify me as a

5      lobbyist.    And I said to her, Well, I know this

6      person and I know this person, I could call.          She

7      goes, "Anything that you can do, because my last two

8      P.A.'s came and they left because they waited months

9      and months and months, and they couldn't practice and

10     they needed to go back to States.        And, therefore, I

11     can't take any more patients."

12                     So, yes, that's how things work here.

13           Q.     Okay.   I don't mind to be indelicate, but

14     are people asking for bribes?        Is that --

15           A.     No, no.    It's just -- they just don't --

16     they have to be together.       You know, they have to

17     meet, and sometimes there is not a full board, so

18     they don't have a quorum.       That's, you know, that's

19     -- that was the same -- sometimes the same issue with

20     the EDA where they wouldn't have a full quorum and

21     they would announce that they're going to, you know,

22     have all these applications.        And then all of sudden

23     they're canceled because they don't have a quorum.

24                     It happens a lot on all these boards.

25     So, no, it's not that anybody getting paid -- you
     Case 1:22-cv-10904-JSR Document 283-8 Filed 08/14/23 Page 9 of 12

                     CECILE DE JONGH -- DIRECT                       113


1      know, wants to get paid under the table.          It's just

2      can you meet to make decisions.

3                      And this is a situation where I didn't

4      know anybody on the board that I could call up and

5      say, Hey, what's going on, this person took the

6      board, they passed the board, what else do they need

7      to do?

8            Q.     Do you remember a time when there was

9      public reports that Mr. Epstein had supposedly donated

10     like a million dollars to your husband's campaign?            Do

11     you remember hearing about that?

12           A.     Yeah, I remember those reports.        Yeah.

13           Q.     And so those were -- that's the kind of

14     news that would find its way to you, right?

15           A.     Yes.

16           Q.     Was it true?

17           A.     No.

18           Q.     Okay.    Do you remember where that was

19     covered?

20           A.     Where?

21           Q.     Yeah.

22           A.     I don't.

23           Q.     Okay.    Let me show you a document and see

24     if this refreshes your recollection.         Exhibit 20.

25
     Case 1:22-cv-10904-JSR Document 283-8 Filed 08/14/23 Page 10 of 12

                     CECILE DE JONGH -- DIRECT                       126


1              Q.    Okay.   And did you have any idea why it was

2       that         was spending so much time on the island?

3              A.    I just thought maybe she was working

4       there.

5              Q.    Did she work for FTC?

6              A.    No, but he had another company at Little

7       St. James.

8              Q.    Okay.   Did you -- well, did she work at

9       Little St. James?

10             A.    I don't know.    I didn't interact with the

11      staff at Little St. James.

12             Q.    Did he have employees who didn't speak

13      English --

14                   MR. TEAGUE:    Objection to form.

15             Q.    (By Mr. Neiman) -- on Little St. James?

16             A.    Yes, he did.

17             Q.    Who?

18             A.    People who were from Dominican Republic;

19      people who were from Haiti.

20             Q.    Did she have any young women from Eastern

21      Europe who worked on Little St. James and didn't speak

22      English?

23             A.    I did not interact with people on Little

24      -- people who worked on Little St. James.         But I do

25      know that he had -- he had housekeepers and people
     Case 1:22-cv-10904-JSR Document 283-8 Filed 08/14/23 Page 11 of 12

                     CECILE DE JONGH -- DIRECT                       127


1       who didn't speak English.

2             Q.     Okay.   Do you remember him asking you to

3       set up English as a second language courses for three

4       young women with Eastern European names?

5             A.     I remember that he asked me to set up

6       something, but I don't know that he gave me their

7       names at UVI.     I reached out to a contact.       They got

8       back to me, and then I think that was it.          I don't

9       even know if they ever enrolled.

10            Q.     Okay.

11            A.     I'm not sure.

12            Q.     But you recall -- you recall they actually

13      did give you the names of three young women,

14                            .   Remember that?

15                   MR. TEAGUE:    Objection, form.     You can

16            answer.

17                   THE WITNESS:    Sitting here now, I don't.

18            Q.     (By Mr. Neiman:)     Okay.   Let's look at 176.

19            A.     I did nothing wrong.

20            Q.     Let me ask you to take a look at a document

21      we'll mark as Exhibit 25.

22                  (Deposition Exhibit No. 25 was

23                    marked for identification.)

24            Q.     (By Mr. Neiman:)     Okay.   Do you have

25      Exhibit 25 in front of you?
     Case 1:22-cv-10904-JSR Document 283-8 Filed 08/14/23 Page 12 of 12

                      CECILE DE JONGH -- DIRECT                        129


1             Q.     Second page of the document in response to

2       your email.

3             A.     Eh-hmm.

4             Q.     Ms. Jackson writes back, right?

5             A.     Yeah.

6             Q.     And there's a little back and forth.        And

7       then on the first page, at the bottom of the page

8       Ms. Jackson advises you that this ESL class isn't

9       offered every semester.      Do you see that?

10            A.     Yes.

11            Q.     And that what they do is they keep a list

12      of names and when they get enough people, they offer

13      the class.    Do you see that?

14            A.     Yes.

15            Q.     And you passed that information on to

16      Mr. Epstein, right?

17            A.     Yes.

18            Q.     And Mr. Epstein wrote back to you and said,

19      "If it worked, both                         would sign up."

20      Do you see that?

21            A.     Yes.

22            Q.     So he's now telling you there are two women

23      who could benefit from an English as a second class --

24            A.     Okay.

25            Q.     -- that he might want to arrange, right?
